Case 3:14-cv-00596-SMY-SCW Document 132 Filed 02/05/18 Page 1 of 7 Page ID #6290



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


   DR. ROBERT L. MEINDERS D.C., LTD,                  )
   Individually and as the Representative of a        )
   Class of Similarly Situated Persons,               )
                                                      )
                          Plaintiff,                  )   Case No. 14-CV-596-SMY-SCW
                                                      )
   vs.                                                )
                                                      )
   EMERY WILSON CORPORATION                           )
   d/b/a STERLING MANAGEMENT                          )
   SYSTEMS,                                           )
                                                      )
                          Defendant.                  )

                     FINAL APPROVAL ORDER AND JUDGMENT
  YANDLE, District Judge:

          The Parties’ proposed class action settlement coming before the Court for a fairness

  hearing on February 5, 2018, at which all persons were given an opportunity to be heard, the

  Court considering the submissions of the parties, including Plaintiff’s Motion for Final Approval

  of Class Action Settlement, the statements of counsel, and the fairness of the settlement’s terms,

  IT IS HEREBY ORDERED THAT:

          1.      For the purposes of this Final Approval Order and Judgment (“Final Approval

  Order and Judgment”), the Court adopts by reference the defined terms set forth in the Parties’

  Revised Settlement Agreement (the “Settlement Agreement”), attached as Exhibit A to the

  Agreed Motion for Preliminary Approval of Class Action Settlement and Notice to the

  Settlement Class, filed with the Court on September 20, 2017.

          2.      This Court grants final approval of the Settlement Agreement, including, but not

  limited to, the releases therein, and finds that the settlement is in all respects fair, reasonable, and


                                               Page 1 of 7
Case 3:14-cv-00596-SMY-SCW Document 132 Filed 02/05/18 Page 2 of 7 Page ID #6291



  adequate, and in the best interests of all those affected by it. Any timely objections that were

  filed have been considered and are overruled. Accordingly, this Final Approval Order and

  Judgment binds all members of the Settlement Class who did not opt out.

         3.      This Court has jurisdiction over plaintiff, Dr. Robert L. Meinders, D.C., Ltd.

  (“Plaintiff”), the members of the Settlement Class, defendant The Emery Wilson Corporation

  d/b/a Sterling Management Systems (“Defendant”), and the claims asserted in this lawsuit. This

  Court retains continuing jurisdiction over this action, Plaintiff, all members of the Settlement

  Class, and Defendant to determine all matters relating in any way to this Final Approval Order

  and Judgment, the Preliminary Approval Order, or the Settlement Agreement, including, but not

  limited to, their consummation, administration, implementation, interpretation, construction, or

  enforcement.

         4.      This Court finds that the parties entered into the Settlement Agreement in good

  faith, following arm’s-length negotiations, and that it was not collusive.

                                          Class Certification

         5.      On September 20, 2017, pursuant to Federal Rule of Civil Procedure 23, the Court

  entered an order entitled Order Preliminarily Approving Class Action Settlement and Class

  Notice (the “Preliminary Approval Order”).

         6.      The Preliminary Approval Order certified the following class solely for purposes

  of settlement: “All persons to whom The Emery Wilson Corporation d/b/a Sterling Management

  Systems sent a facsimile promoting its goods or services between April 3, 2010 and April 3,

  2014” (the “Settlement Class”). In the Settlement Agreement, the Parties agreed that this is a

  proper class definition solely for purposes of settlement. Excluded from the Settlement Class are

  (a) the Defendant and its present and former officers, directors, employees, shareholders,


                                              Page 2 of 7
Case 3:14-cv-00596-SMY-SCW Document 132 Filed 02/05/18 Page 3 of 7 Page ID #6292



  insurers, and their successors, heirs, assigns, and legal representatives; (b) the Court and its

  officers; and (c) all persons who opted out of the settlement by timely submitting their opt out

  request.

          7.      The Preliminary Approval Order also appointed Plaintiff as the Class

  Representative and appointed Phillip A. Bock of Bock, Hatch, Lewis & Oppenheim, LLC and

  Robert J. Sprague of Sprague & Urban as Class Counsel.

                                               Class Notice

          8.      Plaintiff submitted the affidavit of Dorothy Sue Merryman to demonstrate that the

  Notice of Class Action Settlement and Attached Proof of Claim Form (the “Notice”) was sent to

  the fax numbers identified in the telephone records obtained in the Litigation, and sent if

  reasonably possible to the members of the Settlement Class for whom fax notice was

  unsuccessful, as ordered in the Preliminary Approval Order. The Court finds that the Notice and

  the process by which it was published fully complied with the requirements of Federal Rule of

  Civil Procedure 23 and due process under the United States Constitution, constituted the best

  notice practicable under the circumstances, and was due and sufficient notice to all persons

  entitled to notice of the settlement of this lawsuit.

                                       Objections and Opt-Outs

          9.      No members of the Class filed objections to the settlement.

          10.     The following persons have requested exclusion and are hereby excluded from the

  Settlement Class and this case: Midwest Dental also d/b/a Merit Dental & Mondovi Dental;

  Formoli Dental Practice, Inc.; David A. Reumont, CPA, PC; Kari L. Sakurai, D.D.S., Inc.;

  Castaic Family Chiropractic; George A. Malnati, D.V.M., M.S.; Shannelle We; Scott Scharer;

  Sheldon M. Graves, D.D.S.; Gary Mintz, DDS, PC; Atlanta Dental Center; Century Electric

  LLC; Sue Rabin; Hughes Physical Therapy Clinic; James M. Fakler, D.D.S.; Dr. William
                                      Page 3 of 7
Case 3:14-cv-00596-SMY-SCW Document 132 Filed 02/05/18 Page 4 of 7 Page ID #6293



  Richards; Joseph J. Lawless, O.D.; Langel Chiropractic Clinic, P.C.; Vicente C. Claudio, DDS;

  Bindu Patel, O.D., PA; Pine Grove Tax & Accounting, L.P.; Jay S. Herrington, D.D.S.; Mark

  Masunaga; and Gloria M. Raitu, D.D.S.

                                         Class Compensation

         11.     Defendant has created a settlement fund totaling $330,000.00 (the “Settlement

  Fund”) and made it available to pay Settlement Class member claims, to pay an incentive award

  to Plaintiff for serving as the Class Representative, and to pay Class Counsel’s attorneys’ fees

  and reasonable litigation expenses, including the costs of notifying the Settlement Class and

  administering the Settlement Fund.

         12.     As the Parties agreed in the Settlement Agreement, each member of the

  Settlement Class who submits a timely and valid Claim Form will be paid their pro rata share of

  the Settlement Fund less the awards of attorney’s fees, expenses, and incentive award approved

  herein. The Settlement Administrator will cause those checks to be mailed after receiving the

  funds from Defendant, pursuant to the Settlement Agreement. As agreed between the parties,

  checks issued to the class members will be void 181 days after issuance.

         13.     Any money remaining in the Settlement Fund as a result of checks issued to class

  members not being cashed within 180 days of issuance shall be paid as cy pres award to Prairie

  State Legal Services.

                    Awards of Incentive Award and Attorneys’ Fees and Costs

         14.     Pursuant to the Settlement Agreement, the Court approves and awards a

  $5,000.00 incentive award to Plaintiff for serving as the Class Representative in this matter.

  Defendant will pay that amount from the Settlement Fund in accordance with the Settlement

  Agreement. If payment by Defendant is late, Defendant shall pay interest on the amount due at

  the Illinois statutory interest rate of 9% per annum.
                                              Page 4 of 7
Case 3:14-cv-00596-SMY-SCW Document 132 Filed 02/05/18 Page 5 of 7 Page ID #6294



         15.     Pursuant to the Settlement Agreement, the Court approves and awards attorneys’

  fees to Class Counsel in the amount of $110,000.00 (one third of the Settlement Fund), plus up to

  $42,000 for reasonable litigation expenses including the costs of notifying the Settlement Class

  and administering the Settlement Fund. Defendant will pay those amounts from the Settlement

  Fund in accordance with the Settlement Agreement. If payment by Defendant is late, Defendant

  shall pay interest on the amount due at the Illinois statutory interest rate of 9% per annum.

                                          Prospective Relief

         16.     Defendant is hereby required to use reasonable best efforts to avoid and prevent

  any future violation of the TCPA.

                                       Releases and Dismissal

         17.     This lawsuit is dismissed with prejudice as to Plaintiff and all members of the

  Settlement Class (except that the dismissal is without prejudice as to those persons identified

  above who submitted valid exclusions from the Settlement Class), and without fees or costs

  except as provided above.

         18.     The Plaintiff and all members of the Settlement Class who have not timely and

  effectively requested exclusion from the Settlement Class shall be deemed to have, and by

  operation of law shall have, fully, finally, and forever released and discharged all Released

  Claims against Defendant pursuant to the terms of the releases set forth in the Settlement

  Agreement.

         19.     The Court bars and permanently enjoins Plaintiff and all members of the

  Settlement Class who have not timely and effectively requested exclusion from the Settlement

  Class, from instituting or prosecuting any action or proceeding, whether as a class or as an




                                              Page 5 of 7
Case 3:14-cv-00596-SMY-SCW Document 132 Filed 02/05/18 Page 6 of 7 Page ID #6295



  individual, against Defendant for liability in any way related to, arising out of, or based upon the

  Released Claims.

                                   Defendant’s Denial of Liability

         20.     The Court notes that Defendant denies any liability to Plaintiff or to the

  Settlement Class for any matter whatsoever. Without conceding any infirmity in its defenses,

  and while continuing to deny all allegations of liability, Defendant considers it desirable that the

  Litigation be dismissed and that the claims against Defendant be released, on the terms set forth

  herein, in order to avoid further expense, dispose of burdensome and protracted litigation and put

  to rest all claims which have or could have been asserted against Defendant arising from the acts,

  transactions, or occurrences alleged in the Litigation.

                                           Other Provisions

         21.     The Court adopts and incorporates all of the terms of the Settlement Agreement

  by reference here.

         22.     The Parties to the Settlement Agreement shall carry out their respective

  obligations thereunder.

         23.     The Court finds that there is no just reason to delay the enforcement of or appeal

  from this Final Approval Order and Judgment.

         24.     Class Counsel is hereby ORDERED to file a final report regarding the

  distribution of the Settlement Fund within 30 days of payment of the cy pres award.


         IT IS SO ORDERED.

         DATED: February 5, 2018

                                                        s/ Staci M. Yandle
                                                        STACI M. YANDLE


                                              Page 6 of 7
Case 3:14-cv-00596-SMY-SCW Document 132 Filed 02/05/18 Page 7 of 7 Page ID #6296



                                            United States District Judge
                                            Honorable Staci Yandle




                                   Page 7 of 7
